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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

CHARLES SULLINS,
Plaintiff,

VS. Case No. 3:20-cv-00530

JEFFREY MORELAND, J&J MARTIN,

INC., and GEICO CASUALTY COMPANY,
et al.,

Nome me Ne Nem Ne ee ee ee’

Defendants.
ANSWER
COMES NOW the defendant Geico Casualty Company and in response to the Plaintiff's

Complaint, as amended, makes the defenses and responses set forth below:

FIRST DEFENSE
1. By information and belief, admitted.
2. By information and belief, admitted.
4, By information and belief, admitted.
4, This defendant admits it is a Maryland corporation and that it issued a policy of

automobile insurance to John Sullins, to-wit, policy number 4491049294, with UM/UIM
coverage, subject to the terms, limitations and exclusions of the policy, and applicable law, and
that one vehicle was insured under said policy.

5. This defendant is unaware of the identity of any fictitious parties sought to be
described in the body or style of the complaint.

6. Paragraph six requires no response.

is This defendant denies the material allegations of paragraph seven of the

complaint and demands strict proof thereof.
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8. This defendant is without sufficient information to admit or deny the material
allegations of paragraph eight of the complaint, hence denied.

9. This defendant denies the material allegations of paragraph nine of the complaint
and demands strict proof thereof.

10. _ This defendant is without sufficient information to admit or deny the material
allegations of paragraph ten of the complaint.

11. This defendant denies the material allegations of paragraph eleven of the
complaint and demands strict proof thereof.

12. This defendant denies the material allegations of paragraph twelve of the
complaint and demands strict proof thereof.

13; This defendant is without sufficient information to admit or deny the material
allegations of paragraph thirteen of the complaint.

14. This Defendant adopts and incorporates it responses to the preceding paragraphs
of the Complaint as if set forth in full herein.

15. Paragraph fifteen is not directed to this defendant but is expressly directed to the
defendant Moreland, hence no response is required. To the extent this paragraph is construed as
an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

16. Paragraph sixteen is not directed to this defendant but is expressly directed to the
defendant Moreland, hence no response is required. To the extent this paragraph is construed as
an allegation against this defendant the same is denied and this defendant demands strict proof

thereof.
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7. Paragraph seventeen is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

18. Paragraph eighteen is not directed to this defendant but is expressly directed to the
defendant Moreland, hence no response is required. To the extent this paragraph is construed as
an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

19. Paragraph nineteen is not directed to this defendant but is expressly directed to the
defendant Moreland, hence no response is required. To the extent this paragraph is construed as
an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

20. Paragraph twenty is not directed to this defendant but is expressly directed to the
defendant J&J Martin, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

21. Paragraph twenty-one is not directed to this defendant but is expressly directed to
the defendant J&J Martin, hence no response is required. To the extent this paragraph is
construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

22. Paragraph twenty-two is not directed to this defendant but is expressly directed to

the defendant J&J Martin, hence no response is required. To the extent this paragraph is
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construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

23. Paragraph twenty-three is not directed to this defendant but is expressly directed
to the defendant J&J Martin, hence no response is required. To the extent this paragraph is
construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

24. Paragraph twenty-four is not directed to this defendant but is expressly directed to
the defendant J&J Martin, hence no response is required. To the extent this paragraph is
construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

25. This Defendant adopts and incorporates it responses to the preceding paragraphs
of the Complaint as if set forth in full herein.

26. Paragraph twenty-six is not directed to this defendant but is expressly directed to
the defendant J&J Martin, hence no response is required. To the extent this paragraph is
construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

20, Paragraph twenty-seven is not directed to this defendant but is expressly directed
to the defendant J&J Martin, hence no response is required. To the extent this paragraph is
construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

28. Paragraph twenty-eight is not directed to this defendant but is expressly directed

to the defendant J&J Martin, hence no response is required. To the extent this paragraph is
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construed as an allegation against this defendant the same is denied and this defendant demands
strict proof thereof.

29. Paragraph twenty-nine is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

30. Paragraph thirty is not directed to this defendant but is expressly directed to the
defendant Moreland, hence no response is required. To the extent this paragraph is construed as
an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

31. Paragraph thirty-one is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

32. Paragraph thirty-two is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

33. Paragraph thirty-three is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof

thereof.
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34. Paragraph thirty-four is not directed to this defendant but is expressly directed to
the defendant Moreland, hence no response is required. To the extent this paragraph is construed
as an allegation against this defendant the same is denied and this defendant demands strict proof
thereof.

COUNT V

1. This Defendant adopts and incorporates it responses to the preceding paragraphs
of the Complaint as if set forth in full herein.

Z. This defendant admits it is a Maryland corporation and that it issued a policy of
automobile insurance to John Sullins, to-wit, policy number 4491049294, with UM/UIM
coverage, subject to the terms, limitations and exclusions of the policy, and applicable law, and
that one vehicle was insured under said policy.

3% Admitted.

4. This defendant admits the premiums were paid for the policy of John Sullins.

5. Admitted, up to the applicable policy limits.

6. Admitted.

COUNT VI

7; This defendant is unaware of the identity of any fictitious parties sought to be
described in the body or style of the complaint.

8. This defendant is unaware of the identity of any fictitious parties sought to be
described in the body or style of the complaint.

9, This defendant is unaware of the identity of any fictitious parties sought to be

described in the body or style of the complaint.
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SECOND DEFENSE
Defendant denies each and every material allegation of the Complaint not expressly
admitted herein, and demands strict proof thereof.
THIRD DEFENSE
The Defendant denies the Plaintiff suffered the injuries alleged in the Complaint, and
denies the Plaintiff is entitled to the damages and relief sought in the ad damnum clause(s) of the
Amended Complaint.
FOURTH DEFENSE
The Complaint fails to state a claim upon which relief can be granted.
FIFTH DEFENSE
This Defendant affirmatively pleads the notice provisions of the policy of insurance
issued to Plaintiff is applicable and controlling in this matter.
SIXTH DEFENSE
The Defendant affirmatively pleads the doctrine and defense of setoff. Defendant
affirmatively avers setoff for all monies received by the Plaintiff, or potentially available to
protect the tortfeasor in this case. Defendant asserts and reserves its right to elect whether to
inform the jury of any setoff amounts, or to allow the trial court to setoff from any judgment or
verdict the appropriate setoff amount.
SEVENTH DEFENSE
This Defendant affirmatively avers that any liability against it is restricted and limited by
the terms and conditions of any applicable insurance policy, including but not limited to

monetary limitations, as if set forth in full herein.
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EIGHTH DEFENSE
This Defendant affirmatively avers that any liability against it is governed by the express
terms and conditions of any applicable insurance policy, as well as any applicable law, and this
Defendant claims the benefit and all limitations of any such policy or law.
NINTH DEFENSE
This Defendant pleads as an affirmative defense the procedures outlined in Lambert vs.
State Farm Mut. Auto. Ins. Co., 576 So.2d 160 (Ala.1991), and its progeny, applicable to any
settlement between the plaintiff and the alleged tortfeasor, and affirmatively pleads all rights and
defenses available to it under Lambert.
TENTH DEFENSE
Plaintiff's claims are barred by the doctrine of contributory negligence.
ELEVENTH DEFENSE
Plaintiff has not suffered any injury to Plaintiff's property or person by reason of any act
or omission by any codefendant, and Plaintiff does not have standing to assert the claims at issue.
TWELFTH DEFENSE
The Complaint is vague, ambiguous and fails to plead with sufficient facts so as to allow
Defendant to prepare an adequate response as required by the Alabama Rules of Civil Procedure.
THIRTEENTH DEFENSE
To the extent that the Plaintiff has suffered any damages, such damages were caused by,

and were the responsibility of persons, parties and/or entities other than any co-defendant.
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FOURTEENTH DEFENSE

 

Defendant denies that any wrongdoing on the part of any codefendant was the proximate
cause of any injury or damage suffered by Plaintiff, and Defendant asserts that there was an
intervening cause.

FIFTEENTH DEFENSE
This Defendant affirmatively pleads the doctrine of last clear chance.

SIXTEENTH DEFENSE

 

This Defendant affirmatively pleads the doctrine of unavoidable accident.

SEVENTEENTH DEFENSE

 

This Defendant affirmatively pleads the applicable statute of limitations.

EIGHTEENTH DEFENSE

 

This Defendant affirmatively pleads the sudden emergency doctrine.

NINETEENTH DEFENSE

 

Plaintiff's claims are barred by the exclusivity provisions of the Workers’ Compensation
Act.

TWENTIETH DEFENSE

 

This Defendant denies any codefendant engaged in any negligent, reckless or wanton
conduct as alleged in the Complaint and demands strict proof thereof.

TWENTY-FIRST DEFENSE

 

This Defendant affirmatively pleads judicial estoppel.

TWENTY-SECOND DEFENSE

 

This Defendant affirmatively pleads the Plaintiff's damages are the result of an efficient

intervening, or of a superseding cause.
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TWENTY-THIRD DEFENSE

 

This Defendant affirmatively pleads the Plaintiff's alleged injuries or damages are the
result of a preexisting infirmity or condition.

TWENTY-FOURTH DEFENSE

 

To the extent the Complaint requests damages for mental anguish or emotional distress,
Defendant affirmatively avers that imposing damages for mental anguish or emotional distress is
unconstitutional under the United States Constitution and the Constitution of the State of
Alabama. Current Alabama procedures relative to damages for mental anguish and emotional
distress provide no objective, logical or reasonable standards or criteria to govern the award of
such damages, therefore this Defendant is denied due process and equal protection of the laws as
guaranteed by the Fifth, Sixth and Fourteenth Amendments to the United States Constitution and
Article I, Sections 1, 6, 10, 11, 13 and 22 of the Alabama Constitution (1901) separately and
severally.

TWENTY-FIFTH DEFENSE

 

To the extent the Complaint requests damages for mental anguish or emotional distress,
Defendant affirmatively avers that there are no procedural safeguards for the imposition of
damages for emotional distress and mental anguish. Therefore, because such damages are left to
the discretion of the jury, any such award would be improper and unconstitutional.

To the extent Plaintiff claims punitive damages such claim for punitive damages against
Defendant is unconstitutional in violation of both the United States Constitution and the

Constitution of Alabama for the following reasons:
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(a) The imposition of punitive damages against this Defendant without
specific standards for the award of punitive damages violates equal protection and due process of
law.

(b) The standards provided to juries to assess punitive damages in the State of
Alabama are void for vagueness and in violation of equal protection and due process of law.

(c) The imposition of punitive damages against this Defendant should require
substantial evidence that this Defendant engaged in intentional or malicious conduct. Punitive
damages should not be recovered for any conduct less than intentional or malicious.

(d) The current judicial procedure for the review of and award of punitive
damages is meaningless and illusory and violates equal protection and due process of law. There
are not sufficient standards of review to comport with due process and equal protection.

TWENTY-SIXTH DEFENSE

Defendant affirmatively avers that any award of punitive damages to Plaintiff in this case
will be violative of the constitutional safeguards provided to Defendant under the Due Process
Clause of the Fourteenth Amendment to the Constitution of the United States.

TWENTY-SEVENTH DEFENSE

Defendant avers that any award of punitive damages to Plaintiff in this case will be
violative of the procedural safeguards provided to Defendant under the Sixth Amendment of the
Constitution of the United States.

TWENTY-EIGHTH DEFENSE
Defendant affirmatively avers that it is violative of the self-incrimination clause of the

Fifth Amendment to the Constitution of the United States of America to impose against this
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Defendant punitive damages which are penal in nature yet compel this Defendant to disclose
potentially incriminating documents and evidence.

TWENTY-NINTH DEFENSE

 

To the extent Plaintiff claims punitive damages, such claim of punitive damages violates
the Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments of the Constitution of the United
States on the following grounds:

(a) It is a violation of the Due Process and Equal Protection clauses of the
Fourteenth Amendment of the United States Constitution to impose punitive damages; which are
penal in nature, against a civil defendant upon the Plaintiff satisfying a burden of proof which is
less than “beyond a reasonable doubt” burden of proof required in criminal cases;

(b) The procedures pursuant to which punitive damages are awarded may
result in an award of joint and several judgments against Defendant for different alleged acts of
wrongdoing, which infringes upon the due process and equal protection clauses of the Fourteenth
Amendment of the United States Constitution;

(c) The procedures pursuant to which punitive damages are awarded fail to
provide a reasonable limit on the amount of the award against Defendant, which thereby violates
the Due Process Clause of the Fourteenth Amendment of the United States Constitution;

(d) The procedures pursuant to which punitive damages are awarded fail to
provide specific standards for the amount of the award of punitive damages which thereby
violate the Due Process Clause of the Fourteenth Amendment of the United States Constitution;

(e) The procedures pursuant to which punitive damages are awarded result in
the imposition of different penalties for the same or similar acts and, thus violate the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution;
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(f) The procedures pursuant to which punitive damages are awarded permit
the imposition of punitive damages in excess of the maximum criminal fine for the same or
similar conduct, which thereby infringes the Due Process Clause of the Fifth and Fourteenth
Amendments and the Equal Protection Clause of the Fourteenth Amendment of the United States
Constitution.

THIRTIETH DEFENSE
To the extent Plaintiff claims punitive damages, such claim of punitive damages violates
the Due Process Clause of Article I, § 6 of the Constitution of Alabama for the same grounds as
stated above.

THIRTY-FIRST DEFENSE

 

An award of punitive damages to the Plaintiff in this action would constitute a
deprivation of property without due process of law required under the Fifth and Fourteenth
Amendments of the United States Constitution.

THIRTY-SECOND DEFENSE

 

An award of punitive damages against the Defendant in this action would violate the
prohibition against laws that impair the obligations of contracts in violation of Article I, § 22 of
the Constitution of Alabama.

THIRTY-THIRD DEFENSE

 

The Complaint fails to state a claim for punitive damages under Ala. Code §§ 6-11-20 to
6-11-30 (1975), and is barred.
THIRTY-FOURTH DEFENSE
The recovery of punitive damages by the Plaintiff in this case is subject to the limitations

enacted by the Alabama Legislature and set forth in Ala. Code § 6-11-21. Defendant submits that
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those legislative enactments are still in force and effect and that the Alabama Supreme Court
cannot abolish said limitations by judicial action.
THIRTY-FIFTH DEFENSE

Any award of punitive damages against Defendant in this action would violate the Due
Process Clause of the United States Constitution, in accordance with the decisions of the United
States Supreme Court in BMW vy. Gore, 517 U.S. 559, 116 S. Ct. 1589, 134 L. Ed. 2d 809 (1996)
and the Alabama Supreme Court in BMW v. Gore, 701 So. 2d 507 (Ala. 1997) on the following
grounds:

(a) It is a violation of the Defendant’s rights to due process to impose punitive
damages to deter future misconduct, where less drastic remedies could achieve this goal;

(b) It is a violation of due process to subject this Defendant to punitive
damages without providing Defendant fair notice of the conduct that will subject it to
punishment and the severity of the penalty that may be imposed;

(c) It is a violation of due process to punish Defendant with the intent of
changing its lawful conduct in other states; and

(d) It is a violation of this Defendant’s rights to due process to impose
punitive damages which are grossly excessive.

THIRTY-SIXTH DEFENSE
Any award of punitive damages against Defendant in this action would violate the Due
Process Clause of the Fourteenth Amendment of the United States Constitution, in accordance
with the decision of the United States Supreme Court in State Farm Mutual Automobile

Insurance Company v. Campbell, 123 S.Ct. 1513, 155 L.Ed. 585 (2003).
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THIRTY-SEVENTH DEFENSE
Defendant avers that the filing of this Complaint was more than sixty days after the
enactment of the amendment to Ala. Code § 6-11-21 (1975); therefore, the amended version of
said statute is applicable to the award of any punitive damages in this matter.
THIRTY-EIGHTH DEFENSE
The Defendant affirmatively pleads any other matter constituting an avoidance or
affirmative defense.
THIRTY-NINTH DEFENSE

The Defendant reserves the right to plead such other avoidance or affirmative defense as

becomes known as this matter progresses.

Respectfully submitted this the _6th__ day of August, 2020.

PLN,

Joshua J. Jackson
Attorney for Defendant Geico Casualty
Company

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing has been served
upon all counsel of record via the Court’s CM/ECF Filing System or U.S. Mail on August 6,
2020, as follows:

Charles James, II, Esq.
Brandon Price-Crum, Esq.
Serious Injury Law Group
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OF COUNSEL
